              Case 24-15137-SLM                    Doc 1         Filed 05/21/24 Entered 05/21/24 11:18:16                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Everaldo                                                        Joy
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            DeSouza                                                         DeSouza
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4379                                                     xxx-xx-4427
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Everaldo DeSouza
Debtor 2   Joy DeSouza                                                                               Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 155 Race Street
                                 Elizabeth, NJ 07202
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Union
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Everaldo DeSouza
Debtor 2    Joy DeSouza                                                                                    Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under      Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the          Yes.
     last 8 years?
                                              District    Newark, NJ                    When     1/20/11                 Case number     11-11618 RG
                                              District                                  When                             Case number
                                              District                                  When                             Case number



10. Are any bankruptcy              No
    cases pending or being          Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Everaldo DeSouza
Debtor 2    Joy DeSouza                                                                                    Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is         Yes.
    alleged to pose a threat
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Everaldo DeSouza
Debtor 2    Joy DeSouza                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Everaldo DeSouza
Debtor 2    Joy DeSouza                                                                                   Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will                  Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                             $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Everaldo DeSouza                                              /s/ Joy DeSouza
                                 Everaldo DeSouza                                                  Joy DeSouza
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on        May 21, 2024                                   Executed on      May 21, 2024
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1   Everaldo DeSouza
Debtor 2   Joy DeSouza                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Donald C. Goins                                                Date          May 21, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Donald C. Goins
                                Printed name

                                Goins & Goins
                                Firm name

                                323 Washington Avenue
                                Elizabeth, NJ 07202
                                Number, Street, City, State & ZIP Code

                                Contact phone     (908) 351-1984                             Email address         dcgoins1@gmail.com
                                 NJ
                                Bar number & State




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                                                Document      Page 8 of 30
 Fill in this information to identify your case and this filing:

 Debtor 1                     Everaldo DeSouza
                              First Name                                 Middle Name                    Last Name

 Debtor 2                     Joy DeSouza
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         155 Race Street                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
         Elizabeth                         NJ        07202                              Land                                       entire property?           portion you own?
         City                              State              ZIP Code                  Investment property                               $760,000.00                $760,000.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only                              Fee Simple
         Union                                                                          Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                       $760,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                   Schedule A/B: Property                                                                   page 1
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 Debtor 1           Everaldo DeSouza
 Debtor 2           Joy DeSouza                                                                                     Case number (if known)

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.1    Make:      Ford F-150                              Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
            Model:     P/U                                           Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
            Year:      2006                                          Debtor 2 only                                           Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                              entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                               $3,260.00                  $3,260.00
                                                                      (see instructions)



                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.2    Make:      GMC                                     Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
            Model:     Van                                           Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
            Year:      2014                                          Debtor 2 only                                           Current value of the      Current value of the
            Approximate mileage:              168000                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                               $5,560.00                  $5,560.00
                                                                      (see instructions)




4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $8,820.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                    L/R, D/R, B/R                                                                                                                  $2,250.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....
                                    TV/Stereo/Computer/Cell phone                                                                                                  $1,300.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 2
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 Debtor 1       Everaldo DeSouza
 Debtor 2       Joy DeSouza                                                                        Case number (if known)

        Yes.    Describe.....

10.   Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11.   Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
       Yes. Describe.....
                                    Personal Clothing                                                                                            $625.00


12.   Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....
                                    Jewelry                                                                                                      $825.00


13.   Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14.   Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                     $5,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                     Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

16.   Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................
                                                                                                       Cash                                      $325.00


17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                      17.1.    Bus. Checking               Citizens                                                            $1,020.00



                                      17.2.    Checking                    Santander                                                             $402.28


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
Official Form 106A/B                                                   Schedule A/B: Property                                                        page 3
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            Case 24-15137-SLM                          Doc 1          Filed 05/21/24 Entered 05/21/24 11:18:16                    Desc Main
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 Debtor 1       Everaldo DeSouza
 Debtor 2       Joy DeSouza                                                                         Case number (if known)

        Yes.    Give specific information about them...................
                                     Name of entity:                                                  % of ownership:

20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28.   Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,    workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
Official Form 106A/B                                                   Schedule A/B: Property                                                          page 4
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 Debtor 1         Everaldo DeSouza
 Debtor 2         Joy DeSouza                                                                                                         Case number (if known)

                                              Company name:                                                              Beneficiary:                              Surrender or refund
                                                                                                                                                                   value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $1,747.28

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $760,000.00
 56. Part 2: Total vehicles, line 5                                                                           $8,820.00
 57. Part 3: Total personal and household items, line 15                                                      $5,000.00
 58. Part 4: Total financial assets, line 36                                                                  $1,747.28
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                           +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $15,567.28              Copy personal property total             $15,567.28

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                        $775,567.28

Official Form 106A/B                                                              Schedule A/B: Property                                                                             page 5
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                                                                     Document      Page 13 of 30
 Fill in this information to identify your case:

 Debtor 1                Everaldo DeSouza
                         First Name                         Middle Name                  Last Name

 Debtor 2                Joy DeSouza
 (Spouse if, filing)     First Name                         Middle Name                  Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      155 Race Street, Elizabeth, NJ 07202                           $760,000.00                               $55,800.00      11 U.S.C. § 522(d)(1)
      Union County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2006 Ford F-150 P/U                                              $3,260.00                                 $3,260.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2014 GMC Van 168000 miles                                        $5,560.00                                 $5,560.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      L/R, D/R, B/R                                                    $2,250.00                                 $2,250.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      TV/Stereo/Computer/Cell phone                                    $1,300.00                                 $1,300.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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 Debtor 1    Everaldo DeSouza
 Debtor 2    Joy DeSouza                                                                                 Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Personal Clothing                                                   $625.00                                   $625.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry                                                             $825.00                                   $325.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $325.00                                   $325.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Citizens                                                          $1,020.00                                 $1,020.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Santander                                                           $402.28                                   $402.28        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Everaldo DeSouza
                            First Name                      Middle Name                     Last Name

 Debtor 2                   Joy DeSouza
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Select Portfolio Servicing,
 2.1
         Inc.                                     Describe the property that secures the claim:               $576,022.36                       $0.00                   $0.00
         Creditor's Name                          155 Race Street,          Elizabeth, NJ
                                                  07202
         PO Box 65250
                                                  As of the date you file, the claim is: Check all that
         Salt Lake City, UT                       apply.
         84165-0250                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)  1st Mtg
      community debt

 Date debt was incurred          2004                      Last 4 digits of account number        2785

 2.2     Specialized Loan Servicing               Describe the property that secures the claim:               $107,491.66                       $0.00       $107,491.66
         Creditor's Name                          155 Race Street, Elizabeth, NJ 07202
         6200 S. Quebec St. Ste
         300
                                                  As of the date you file, the claim is: Check all that
                                                  apply.
         Englewood, CO 80111                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)  2nd Mortgage
      community debt

 Date debt was incurred          2012                      Last 4 digits of account number        0642


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $683,514.02
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $683,514.02

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 Everaldo DeSouza                                                                       Case number (if known)
              First Name                Middle Name                     Last Name
 Debtor 2 Joy DeSouza
              First Name                Middle Name                     Last Name



 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                  Everaldo DeSouza
                           First Name                       Middle Name                      Last Name

 Debtor 2                  Joy DeSouza
 (Spouse if, filing)       First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim

 4.1          Best Buy Credit Services                               Last 4 digits of account number        7143                                                       $3,243.61
              Nonpriority Creditor's Name
              PO Box 70601                                           When was the debt incurred?            2021
              Philadelphia, PA 19176
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                         Contingent
                  Debtor 2 only                                         Unliquidated
                  Debtor 1 and Debtor 2 only                            Disputed
                  At least one of the debtors and another            Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                Student loans
              debt                                                      Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
                  No                                                    Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                      Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 9
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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.2      BJ'S Capital One Bank                                      Last 4 digits of account number       3922                                                  $2,365.41
          Nonpriority Creditor's Name
          PO Box 4069                                                When was the debt incurred?           2023
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.3      Cavalry SPV, LLC                                           Last 4 digits of account number       2949                                                  $2,748.61
          Nonpriority Creditor's Name
          PO Box 4069                                                When was the debt incurred?           2023
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.4      Child Smiles                                               Last 4 digits of account number       7608                                                     $150.00
          Nonpriority Creditor's Name
          1124 East Jersey Street                                    When was the debt incurred?           2023
          Elizabeth, NJ 07201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Dental Bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 9
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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.5      Citi macy's                                                Last 4 digits of account number       7510                                                     $750.00
          Nonpriority Creditor's Name
          PO Box 6167                                                When was the debt incurred?           2023
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.6      Discover                                                   Last 4 digits of account number       5200                                                  $5,200.00
          Nonpriority Creditor's Name
          PO Box 70176                                               When was the debt incurred?           2023
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.7      Khol's Payment Center                                      Last 4 digits of account number       4647                                                     $255.25
          Nonpriority Creditor's Name
          PO Box 2983                                                When was the debt incurred?           2022
          Milwaukee, WI 53201-2983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 9
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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.8      Lowe's                                                     Last 4 digits of account number       1752                                                  $3,925.24
          Nonpriority Creditor's Name
          PO Box 669824                                              When was the debt incurred?           2023
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.9      Macy's                                                     Last 4 digits of account number       6751                                                  $2,703.80
          Nonpriority Creditor's Name
          PO Box 71361                                               When was the debt incurred?           2023
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 0        Macy's                                                     Last 4 digits of account number       1172                                                  $2,615.28
          Nonpriority Creditor's Name
          PO Box 71361                                               When was the debt incurred?           2023
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 4 of 9
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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.1
 1        MTA Bridges & Tunnel                                       Last 4 digits of account number       5590                                                     $110.17
          Nonpriority Creditor's Name
          PO Box 15186                                               When was the debt incurred?           2023
          Albany, NY 12212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Tolls


 4.1
 2        Preferred Credit , Inc.                                    Last 4 digits of account number       7226                                                  $5,758.33
          Nonpriority Creditor's Name
          PO Box 809044                                              When was the debt incurred?           2023
          Chicago, IL 60680
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 3        Remex, Inc.                                                Last 4 digits of account number       8732                                                  $8,732.00
          Nonpriority Creditor's Name
          PO Box 765                                                 When was the debt incurred?           2023
          Rocky Hill, NJ 08553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 5 of 9
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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.1
 4        Santander Bank, N.A.                                       Last 4 digits of account number       3975                                                     $618.97
          Nonpriority Creditor's Name
          PO Box 847051                                              When was the debt incurred?           2023
          Boston, MA 02284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1      SANTANDER CARD SERVICES
 5        PROCESSING                                                 Last 4 digits of account number       3975                                                $29,596.54
          Nonpriority Creditor's Name
          PO Box 12646                                               When was the debt incurred?           2022
          Reading, PA 19612-2768
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Personal Loan


 4.1
 6        Synchrony/MC/SYNCB                                         Last 4 digits of account number       2632                                                     $940.25
          Nonpriority Creditor's Name
          PO Box 669814                                              When was the debt incurred?           2023
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.1
 7        Target Card Services                                       Last 4 digits of account number       7640                                                  $3,405.35
          Nonpriority Creditor's Name
          PO Box 660170                                              When was the debt incurred?           2023
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 8        The Home Depot                                             Last 4 digits of account number       7861                                                  $5,034.21
          Nonpriority Creditor's Name
          PO Box 70600                                               When was the debt incurred?           2022
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 9        THE HOME DEPOT                                             Last 4 digits of account number       1571                                                  $1,714.73
          Nonpriority Creditor's Name
          PO Box 70600                                               When was the debt incurred?           2023
          Philadelphia, PA 19176-0600
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 7 of 9
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 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.2
 0        TJX Rewards Credit Card                                    Last 4 digits of account number       7685                                                     $458.11
          Nonpriority Creditor's Name
          PO Box 669818                                              When was the debt incurred?           2019
          Dallas, TX 75226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.2
 1        Transworld Systems, Ins.                                   Last 4 digits of account number       1018                                                     $886.46
          Nonpriority Creditor's Name
          500 Virginia Dr., Suite 514                                When was the debt incurred?           2023
          Fort Washington, PA 19034
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Toll fee


 4.2
 2        Trinitas Regional Medical Center                           Last 4 digits of account number       4109                                                     $402.20
          Nonpriority Creditor's Name
          225 Williamson St                                          When was the debt incurred?           2023
          Elizabeth, NJ 07202-3625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical Testing




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 Debtor 1 Everaldo DeSouza
 Debtor 2 Joy DeSouza                                                                                    Case number (if known)

 4.2
 3         University RadiologyGroup, LLC                            Last 4 digits of account number       9949                                                     $175.00
           Nonpriority Creditor's Name
           PO Box 999                                                When was the debt incurred?           2023
           Yorktown Heights, NY 10598
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Radiology Testing

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                           0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                           0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $                    81,789.52

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                    81,789.52




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 Fill in this information to identify your case:

 Debtor 1                Everaldo DeSouza
                         First Name                         Middle Name              Last Name

 Debtor 2                Joy DeSouza
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                    State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.2
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.3
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.4
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.5
           Name


           Number      Street

           City                                    State                  ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Everaldo DeSouza
                            First Name                            Middle Name        Last Name

 Debtor 2                   Joy DeSouza
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name                                                                                    Schedule E/F, line
                                                                                                        Schedule G, line

                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                Name                                                                                    Schedule E/F, line
                                                                                                        Schedule G, line

                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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                                                             United States Bankruptcy Court
                                                            District of New Jersey, Trenton Division
            Everaldo DeSouza
 In re      Joy DeSouza                                                                                Case No.
                                                                                    Debtor(s)          Chapter    13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      May 21, 2024                                                 /s/ Everaldo DeSouza
                                                                         Everaldo DeSouza
                                                                         Signature of Debtor

 Date:      May 21, 2024                                                 /s/ Joy DeSouza
                                                                         Joy DeSouza
                                                                         Signature of Debtor




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                            Best Buy Credit Services
                            PO Box 70601
                            Philadelphia, PA 19176


                            BJ'S Capital One Bank
                            PO Box 4069
                            Carol Stream, IL 60197


                            Cavalry SPV, LLC
                            PO Box 4069
                            Carol Stream, IL 60197


                            Child Smiles
                            1124 East Jersey Street
                            Elizabeth, NJ 07201


                            Citi macy's
                            PO Box 6167
                            Sioux Falls, SD 57117


                            Discover
                            PO Box 70176
                            Philadelphia, PA 19176


                            Khol's Payment Center
                            PO Box 2983
                            Milwaukee, WI 53201-2983


                            Lowe's
                            PO Box 669824
                            Dallas, TX 75266


                            Macy's
                            PO Box 71361
                            Philadelphia, PA 19176


                            MTA Bridges & Tunnel
                            PO Box 15186
                            Albany, NY 12212


                            Preferred Credit , Inc.
                            PO Box 809044
                            Chicago, IL 60680


                            Remex, Inc.
                            PO Box 765
                            Rocky Hill, NJ 08553


                            Santander Bank, N.A.
                            PO Box 847051
                            Boston, MA 02284


                            SANTANDER CARD SERVICES PROCESSING
                            PO Box 12646
                            Reading, PA 19612-2768
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                            Select Portfolio Servicing, Inc.
                            PO Box 65250
                            Salt Lake City, UT 84165-0250


                            Specialized Loan Servicing
                            6200 S. Quebec St. Ste 300
                            Englewood, CO 80111


                            Synchrony/MC/SYNCB
                            PO Box 669814
                            Dallas, TX 75266


                            Target Card Services
                            PO Box 660170
                            Dallas, TX 75266


                            The Home Depot
                            PO Box 70600
                            Philadelphia, PA 19176


                            THE HOME DEPOT
                            PO Box 70600
                            Philadelphia, PA 19176-0600


                            TJX Rewards Credit Card
                            PO Box 669818
                            Dallas, TX 75226


                            Transworld Systems, Ins.
                            500 Virginia Dr., Suite 514
                            Fort Washington, PA 19034


                            Trinitas Regional Medical Center
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